




NO. 07-06-0227-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JULY 7, 2006

______________________________



DAVID CRUZ SANCHEZ,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 64
TH
 DISTRICT COURT OF CASTRO COUNTY;



NO. A3067-0602; HON. ROBERT W. KINKAID, JR., PRESIDING

_______________________________



ON MOTION TO DISMISS



__________________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

Appellant David Cruz Sanchez, by and through his attorney, has filed a motion to dismiss this appeal because he no longer desires to prosecute it. &nbsp;Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Do not publish.


